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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )                     8:16CR231
                          Plaintiff,                    )
                                                        )
        vs.                                             )                       ORDER
                                                        )
KEVIN PADILLA-OLMEDO,                                   )
                                                        )
                          Defendant.                    )


        This matter is before the court on the motion for an extension of time by defendant Kevin Padilla-
Olmedo (Padilla-Olmedo) (Filing No. 47). Padilla-Olmedo seeks additional time in which to file pretrial motions
in accordance with the progression order. Padilla-Olmedo's counsel represents that government's counsel has
no objection to the motion. Upon consideration, the motion will be granted.
        IT IS ORDERED:
        Defendant Padilla-Olmedo's motion for an extension of time (Filing No. 47) is granted. Padilla-Olmedo
is given until on or before December 5, 2016, in which to file pretrial motions pursuant to the progression order.
The ends of justice have been served by granting such motion and outweigh the interests of the public and the
defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time

between November 3, 2016, and December 5, 2016, shall be deemed excludable time in any computation
of time under the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(7)(A) & (B).
        DATED this 3rd day of November, 2016.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
